 1

 2

 3

 4

 5

 6

 7                                THE DISTRICT COURT OF GUAM

 8
     IN RE:                                                  BANKRUPTCY CASE NO. 21-00034
 9

10   BEACH RESORTS, LLC,
                                                                            ORDER
11                          Debtor-in-Possession.

12

13

14            The Motion to Shorten Time on Certain Motions of Debtor-in-Possession, ECF No. 8, is

15   GRANTED. The court will hear the first day motions on July 30, 2021, at 9:30 a.m. Response to

16   the motions, if any, shall be filed no later than July 29, 2021, at 8:00 a.m., ChST.

17            SO ORDERED.

18                                                  /s/ Frances M. Tydingco-Gatewood
                                                        Chief Judge
19                                                  Dated: Jul 27, 2021

20

21

22

23

24

                                                      1
                     Case 21-00034 Document 10 Filed 07/27/21 Page 1 of 1
